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 6
                                    UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9   TONY ASBERRY,                                        Case No. 1:16-cv-01741-LJO-JDP

10                   Plaintiff,                           ORDER ADOPTING FINDINGS AND
                                                          RECOMMENDATIONS THAT COURT
11             v.                                         DENY DEFENDANTS’ MOTIONS FOR
                                                          SUMMARY JUDGMENT AND ALL
12   C. RELEVANTE, R. LOZOVOY,                            OTHER PENDING MOTIONS
     A. FERRIS, and P. GODFREY,
13                                                        ECF No. 157
                      Defendants.
14

15        Plaintiff is a state prisoner proceeding pro se in this civil rights action brought pursuant to 42

16   U.S.C. § 1983. The matter was referred to a United States magistrate judge pursuant to 28 U.S.C.

17   § 636(b)(1)(B) and Local Rule 302.

18        On December 7, 2018, the assigned Magistrate Judge entered findings and recommendations

19   that the Court deny Defendants’ motions for summary judgment and all other pending motions.

20   ECF No. 157. On December 21, 2018, two Defendants filed their objections. ECF No. 160.

21        In accordance with the provisions of 28 U.S.C. § 636(b)(1)(B) and Local Rule 304, this

22   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

23   Court finds the findings and recommendations to be supported by the record and proper analysis.

24        Accordingly, IT IS ORDERED that:

25        1.        The findings and recommendations issued by the assigned magistrate judge on

26                  December 7, 2018, ECF No. 157, are adopted in full;

27        2.        Defendants’ motions for summary judgment, ECF Nos. 133, 136, are denied;

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 1        3.    Plaintiff’s motions for access to law library and for reconsideration, ECF Nos. 134, `

 2              154, are denied; and

 3        4.    This matter is referred back to the assigned magistrate judge for further proceedings.

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     IT IS SO ORDERED.
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       Dated:   January 3, 2019                        /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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